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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

In the Matter of the Search of Case No. 20-9347MB
Information associated with
kerwinelliot@gmail.com, ORDER
help@Loon- “Tech, com, and
Blot P_Kerwin@gmail.com (Filed Under Seal)
that is stored at premises owned or controlled
by Google LLC.

The United States has submitted an application pursuant to 18 U.S.C. § 2705(b),
requesting that the Court issue an order directing Google, LLC (“the Service Provider”),
an electronic communications service provider and/or remote computing service, not to
disclose the existence of the search warrant issued in the above-captioned matter to any
person or entity (including the subscriber(s) or customer(s) of the account(s) listed in the
warrant), for an additional 180 days.

The Court determines that there is reason to believe that notification of the existence
of the warrant will seriously jeopardize the investigation or unduly delay a trial, including
by giving targets an opportunity to flee or continue flight from prosecution, destroy or
tamper with evidence, change patterns of behavior, notify confederates, intimidate
potential witnesses, or endanger the life or physical safety of an individual. See 18 U.S.C.
§ 2705(b).

IT IS THEREFORE ORDERED under 18 U.S.C. § 2705(b),. that the Service
Provider shall not disclose the existence of the search warrant, or any Order of the Court

issued in the above-captioned matter, to any person or entity (including the subscriber(s)

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or customer(s) of the account(s) listed in the warrant), for an additional 180 days, unless
further extensions are granted by the Court, except that the Service Provider may disclose
the warrant to an attorney for the Service Provider for the purpose of receiving legal advice.

IT IS FURTHER ORDERED that the Search Warrant and Return, the Application
for Search Warrant, the Affidavit and any attachments thereto, the Application for
Nondisclosure and Motion to Seal, and the resulting order filed in this matter shall remain
under seal for an additional 180 days, unless further extensions are granted by the Court.

IT IS FURTHER ORDERED that the nondisclosure order and the order to seal
shall both be extended from May 12, 2021, to and including November 8, 2021.

IT IS FURTHER ORDERED that the instant Motion and this Order be filed under

DATED this 2 [ day of April, 2021.

seal.

HONORABLE MICHELLE H. BURNS
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

In the Matter of the Search of Case No. 20-9347MB
Information associated with

kerwinelliot@gmail.com, MOTION TO EXTEND TIME FOR
help@Loon-A-Tech.com, and NONDISCLOSURE ORDER AND TO
Elliot P_Kerwin@gmail.com MAINTAIN SEARCH WARRANT
that is stored at premises owned or controlled MATERIALS UNDER SEAL

by Google LLC.

(First Extension)

(Filed Under Seal)

CCA!

On November 13, 2020, the Court authorized a search warrant in the above-
captioned matter and issued an order directing Google, LLC (“the Service Provider”) not
to disclose the existence of the search warrant to any person or entity (including the
subscriber(s) or customer(s) of the account(s) listed in the warrant) for 180 days, unless
further extensions were granted by the court. In addition, the Court ordered that the Search
Warrant and Return, the Application for Search Warrant, the Affidavit and any attachments
thereto, the Nondisclosure Application and Order, the Motion to Seal, and the Order to Seal
filed in this matter (“the Sealed Materials”) would remain under seal for 180 days, unless
further extensions were granted by the Court. The current date on which the nondisclosure
order and order to seal are both set to expire is May 12, 2021. The United States is now

seeking an order extending both the nondisclosure order and the order to seal for an

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additional 180 days.

The Service Provider is a provider of electronic communications services, as
defined in 18 U.S.C. § 2510(15), and/or a remote computer service, as defined in 18 U.S.C.
§ 2711(2). The Service Provider has disclosed certain records and information to the
United States as authorized by the Court. This Court has authority under 18 U.S.C.
§ 2705(b) to issue “an order commanding a provider of electronic communications service
or remote computing service to whom a warrant, subpoena, or court order is directed, for
such period as the court deems appropriate, not to notify any other person of the existence
of the warrant, subpoena, or court order.” Id.

Moreover, a 180-day extension is permissible under 18 U.S.C. § 2705(b). Whereas
other sections authorize delayed notification by the government and include time
limitations—see, e.g., 18 U.S.C. § 2705(a) (90 days), 18 U.S.C. § 3103a(b) (generally 30
days)—section 2705(b) authorizes the Court to prohibit the service provider Jrom notifying
the customer and does not reference a particular time period. Instead, it allows the Court
to issue an order “for such period as the court deems appropriate.” Nothing in the statute
prescribes a particular time period or prohibits an extension of that period. Cf In Re Search
Warrant for [Redacted]@hotmail.com, 74 F. Supp. 3d 1184, 1186 (N.D. Cal. 2014)
(denying application for § 2705(b) order for indefinite period because “[a] limited period
of nondisclosure, as justified by the government’s initial application, coupled with an
obligation on the government to seek renewal if the circumstances justifying the initial
period remain in effect, better squares with Section 2705(b)’s language and purpose”).

Similarly, an order extending the sealing of the Sealed Materials is authorized and
appropriate. See Matter of Search Warrants Executed on February 14, 1979, 600 F.2d
1256, 1257 (9th Cir. 1979) (“[cJourts have inherent power, as an incident of their
constitutional function, to control papers filed with the courts within certain constitutional
and other limitations.”). Sealed Materials are regularly maintained under seal by the Court
pending the completion of a criminal investigation.

Here, an extension of both the nondisclosure order and the sealing order is

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appropriate because the search warrant relates to an ongoing criminal investigation that is
neither public nor known to all of the targets of the investigation, and its disclosure may
alert the targets to the ongoing investigation. Accordingly, there is reason to believe that
notification of the existence of the warrant will seriously jeopardize the investigation or
unduly delay a trial, including by giving targets an opportunity to flee or continue flight
from prosecution, destroy or tamper with evidence, change patterns of behavior, notify
confederates, intimidate potential witnesses, or endanger the life or physical safety of an
individual. See 18 U.S.C. § 2705(b). Some of the evidence in this investigation is stored
electronically. If alerted to the existence of the warrant, the subjects under investigation
could destroy that evidence, including information saved to their personal computers.

Based on the foregoing, the United States respectfully requests that the Court grant
the attached order directing the Service Provider not to disclose the existence or content of
the search warrant for an additional 180 days, except that the Service Provider may disclose
the warrant to an attorney for the Service Provider for the purpose of receiving legal advice.
The United States further requests that the Court order the Sealed Materials to remain
sealed for an additional 180 days, unless further extensions are granted by the Court.

The United States further requests that this Motion and any resulting order be filed
under seal.

Respectfully submitted this 21" day of April, 2021.

PAUL ANTHONY MARTIN
Acting United States Attorney
District of Arizona

“ Digitally signed by WILLIAM VOIT
Date: 2021.04.21 10:15:16 -07'00'

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Assistant U.S. Attorneys

